 Case 24-50042        Doc 3    Filed 01/30/24 Entered 01/30/24 14:52:19                    Desc Main
                                  Document    Page 1 of 1




    FILED HARRISONBURG, VA
    U.S. BAI{KRUPTËY COIJRT
                                                Certificate Number: I 2459-VAW-CC-038 140936
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  By                                                              12459-VAW-CC-038140936
             Deputy Clerk



                     CBnrrrrcATE                 F COUNSELING


I CERTIFY that on January 30,2024, at 5:14 o'clock AM PST Jose Duban
Guerra Lopez received from Abacus Credit Counseling, an agency approved
pursuant to 11 U.S.C. 111 to provide credit counseling in the Western District of
Virginia, an individual lor group] briefing that complied with the provisions of 11
U.S.C. 109(h) and 1 1 1.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.




Date: January 30,2024                           By        /s/Flokulani Kabaka


                                                Name: Hokulani Kabaka


                                                Title: CreditCounselor



* Individuals who wish to file a bankruptcy case under title l l of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See ll U.S.C. 109(h) and 521(b).
